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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )            8:06CR182
                    Plaintiff,                   )
                                                 )
      vs.                                        )             ORDER
                                                 )
LEOPOLDO MEJIA,                                  )
                                                 )
                    Defendant.                   )




      This matter is before the court on the motion of Julie B. Hansen, Assistant Federal
Public Defender, to withdraw as counsel for the defendant, Leopoldo Mejia [27]. Since
retained counsel, Horacio J. Wheelock, has entered an appearance for the defendant [26],
the motion to withdraw [27] is granted. Julie B. Hansen shall be deemed withdrawn as
attorney of record and shall forthwith provide Horacio J. Wheelock with the discovery
materials provided the defendant by the government and such other materials obtained by
Ms. Hansen which are material to the defendant’s defense.


      IT IS SO ORDERED.
      DATED this 7th day of July, 2006.


                                                 BY THE COURT:


                                                 s/ F.A. Gossett
                                                 United States Magistrate Judge
